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            KELBY G ERM AINE PARSON                                                                       j.uuv.gt-s. ,. ,..,-.
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                                             C RIM IN AL C O M PLAIN T
        1,thecomplainantinthiscase,statethatthe following istrueto the bestofmy knowledgeandbelief.
Onoraboutthedatets)of                N9y:!J!bRr
                                         .   ..
                                              '?6,2012,       inthecountyof                      Palm Beach                                  inthe
   Southern    Districtof               Florida       ,thedefendantts)violated:
          CodeSection                                                 OffenseDescription
Title 18,Uni
           ted States Code,              Attempted Bank Robbery.
Section2113(a).




        Thiscriminalcomplaintisbased on these facts:


                                                        See Attached Affidavi
                                                                            t.



        V Continuedontheattachedsheet.

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                                                                                       Complainant'
                                                                                                  ssignature
                                                                              FBISpecialAgentShel
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Sworn to before meand signed in my presence.
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City and state:            W estPalm Beach,Fl
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       1,Shelton C.Hamm onds,being duly sworn,depose and stateasfollows:

             1am a SpecialAgentofthe FederalBureau oflnvestigation (FBl)and havebeen so
employed forthe pasttwo and a halfyears. 1am currently assigned to PB-2,the ViolentCrim es

and M ajorOffenderSquad ofthePalm Beach County ResidentAgency,M iamiDivision. Priorto
joiningtheMiamiDivision,lattendedtheFB1Academyin Quantico,Virginia,forfive(5)months
where l received training in federal crim inal law s and investigation techniques. A m ong m y

responsibilities as a Special A gent are investigating all violent crim inal violations to include

investigating bank and arm ored carrobberies.

              The facts setforth in this aftidavit are based in parton my personalknowledge,

inform ation obtained through this investigation by others,including otherlaw enforcem entoftk ers

and w itnesses,as w ellas inform ation gained from m y training and experience.l am fam iliar with

the facts and circum stances of this investigation.How ever,notall of the facts know n to m e have

been included in thisaffidavit,butonly those factswhich are necessary to establish probable cause

forthe issuance ofa crim inalcom plaintand the arrestofK elby Germ aine PA R SON . Based on m y

training and experience and the facts as setforth in this affidavit,1believe thatthere isprobable

eause to believe that an Attempted Arm ed Robbery,in violation ofTitle 18,United States Code,

Section2113(a)wascommittedbyKelbyGermainePARSON.
              O n N ovem ber 26,2012,at approxim ately 7:10 a.m .,the Bank of Am erica Transfer

Station,located at5701 Village Boulevard,W est Palm Beach,Florida 33409 located within the

Southern Districtof Florida,reported an armed take over style bank robbery to the W est Palm

Beach Police Department(W PBPD).TheBank ofAmericaFacility wasdetermined to beinsured
                                                1
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bytheFederalDepositlnsuranceCorporation(FDIC).
       4.      Based upon witness interviews of the tw o guards w orking for the D unbar Arm ored

Truck Com pany,aswellasevidencecollected atthescene,1aw enforcem entagentslearnedthattwo

anned robbersentered the Bank ofAm erica Transfer Station by cutting the fence surrounding the

secured com pound, prying the bars apart, and craw ling undenzeath the fence. Once inside the

secured com pound,the two armed robbers confronted one ofthe guards of the Dunbar Arm ored

truck who was seated in the driverside ofthe vehicle. Specifically,one ofthe robbers pointed an

assaulttype ritle/w eapon directly atthe guard. ln response,the guard raised hishandsand told the

robber,ii-l-ake w hateveryou w ant.'' A tthistim e,the second guard heard the statem entm ade by the

firstguard and saw the muzzle ofthe assaulttype ritle/weapon held by therobberwho waswearing

a m ask. ln response,the second guard drew hisfirearm from his holsterand fired one round atthe

robber. The second guard then took coverin the main building and asked the em ployeesinside the

building to call for help. Shortly thereafter,the second guard went back outside to check on his

partner(the firstguard). Upon aniving atthe driver'ssideofthe armored car,the second guard
observed a blood trail from the annored car to a grassy area,as w ell as a num ber of rounds of

am m unition. The location of the startof the blood trail w as the sam e location w here the second

guard had previously observed the robberstanding when he (the second guard)fired hisweapon.
The two arm ed robbersthen fled.

       5.     Upon arrivalatthe scene,law enforcementalso observed theblood trailnoted above,

as wellas the continuation ofthe blood trailfrom the grassy area to the parking lotwhere it is

believed thatthe getaway vehicle was parked,as wellas seventeen rbunds oflive ammunition in

close proxim ity to the arm ored truck. Based upon m y training and experience, as w ell as an

exam ination of the rounds of amm unition, 1 know that they are consistent with the kind of

ammunition used by assault type rifles/weapons. Video surveillanee of the parking lot of the
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business located nextto the Bank of Am erica Transfer Station noted above was obtained from

Florida Pow er and Light. A review of the video revealed the im age of a 1996 silver four door

Honda parked by theneighboring businessnextto the Bank ofAmerica Transfer Station. Shortly

thereafter,the video depicts two arm ed suspects as they exited the Honda and approached the

parked anuored tnzck. Seconds later the video depicts the two suspects as they fled back to the

waiting vehicle. The two suspectsthen entered the vehicleand thevehiclethen drove offin a west

bound direction. ltshould be noted thattheblood trailnoted aboveended in closeproximity to the

location wherethe 1996 silverHondawasparked asdepicted in thevideo.

              At approximately 7:24 a.m . a black m ale, later identified as Kelby Gennaine

PARSON (hereinafter referred to as PARSON),arrived atthe emergency room of St.M ary's
H ospitallocated at901 45thstreet,W estPalm Beach, Florida. St.M ary's H ospitalis located w ithin

approxim ately 2 m iles of the scene of the attem pted robbery at the Bank of A m erica Transfer

Station noted above. Video surveillance obtained from St.M ary's Hospital security cameras

captured PARSON exiting the rearpassengerseatofa white Pontiac ()6 vehicle and walking into

the hospital. PAR SO N w as adm itted to the hospital for treatm ent of a gunshot wound he had

received to his face. During the course of PARSON 'S treatm ent at the hospital,a bullet was

rem oved from his body. The bullet w as turned over to law enforcem ent so that a determ ination

could be m ade regarding whether thatbullet w as fired from the w eapon used by the second guard

w hen he fired atthe robber as outlined above.

              On N ovem ber 27,2012,law enforcem entobtained authorization fora search w arrant

to obtain a DNA standard consisting ofsaliva and skin cells from the m outh ofPARSON in order

fora DN A Examinerto conducta DNA comparison with the blood evidence recovered during the

courseofthisinvestigation. On Novem ber29,2012,1aw enforcementagentsreceived areportfrom

DNA Labs lnternationalwho conducted the DN A comparison ofthe DNA standard consisting of
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saliva and skin eellseolleded from the mouth ofPARSON and swabsofblood reeovered from the

blood trailinside the secured com pound ofthe Bank of Am erica Transfer Station noted above. The

resultsofthe DNA analysiseonfirm thatthebloodrecovered from theblood trailinsidethe secured

com pound of the Bank of A m erica Transfer Station m atches the D N A profile for PAR SON . The

reportfurtherstates thatthe chance thatan unrelated person,ehosen atrandom from the general

population,would m atch this DNA profile is approximately 1 in every 6.8 sextillion individuals.

M oreover, law enforcem ent agents received verbal confirm ation that the bullet rem oved from

PA RSON 'S body w as fired from the w eapon used by the second guard em ployed by the Dunbar

A rm ored Truck Com pany when he fired hisw eapon atthe robber.

              Based on the aforem entioned factualinform ation,l respectfully subm it thatthere is

probable cause to believe that K elby G ennaine PA RSON has com m itted the crim inal offense of

AttemptedBankRobbery,inviolation ofTitle 18,UnitedStatesCode,Section2113(a).

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                                                 C.HAMMOND
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                                                               SPECIALAGENT
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Subscribed and sw orn to m e
before this 3*X-dayofNovember, 2012.



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UN ITED STA TES M A G ISTR ATE JU D G E
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       StatesAttorney'sOfficepriorto October14,2003?                 Yes X No

       Did thismatteroriginatefrom am atterpendingin the CentralRegion oftheUnited States
       Attorney'sOfficepriorto Septem ber1,20077         Yes X No



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